AO 106(Rev.01/09)ApplioationforaSearchWnmmt                                                          cLEqrs
                                                                                                                                OURT
                         .                                                                                       ABINGDON,vA
                               U M TED               ATES ISTRICT OURT                                             FILED
                                                                                                              JAN 15 2219
                                                             forthe
                                                  W estcvn DistlictofVirginia                              Ju    c. DuEy ùLERK
                                                                                                        Bv:   d.
                                                                                                               DEpu    CLER
             In the M atterofthe Search of
        (Briejlydescribethepropertytobesearched
         orj& zmy ..
                   /thepersonbynameandaddress)
                 12499 Rich Valley Road
                                                                       CaseNo.1'
                                                                               .19m-
                                                                                  U5
                      Bristol,VA


                                     APPLICA H O N FOR A SEARCH W AQQ ANT

        1,afederallaw enforcementomceroranattorneyfortltegovemmentarequestasearchwnrrnntandstatepnder
penaltyofperjmythatIhavereasontobelieyethattherelsnow concealedonthefollowingpersonorproperty
locatedillthe          W estem        Districtof            Virqinia          (identk
                                                                                    ? thepersonordescribeAmzerl
                                                                                                              .pto
&'zefpreàetptwtpgfvefaloeatiott
                              h 12499'Rth.       Road'
                                                     ,BristotVA -teinclude'theresidence,cursllage,garages,
                               outbuildings,campers,and vehicles present.M achmentA consistsofa photograph of
                               the residence.

        '
        Iheperson orpropertytobesearched,described above,isbelievedto conceal(tdentl
                                                                                   ? thepersonordescribethe
propcrl
      ylobeseizedl'
                  . see AttachmentB


        n ebasisfortltesearchImderFed.R.Cn'm.P.41(c)is(clwckopeormorel'
                                                                      .
              # evidenceofamime;
              f contraband,frnitsofcrime,orbtheritemsillegallypossessed;
              d propertydeàignedforuse,ltendedforuse,orusedixlcommittingacrime;
              O aperson to bt arrested oraperson who islmlawfully restrained.

       '
       I'
        he search isrelated to a violation of         21 U.S.C.9 846/841(a)(1),atztheapplicationisb%edonthese
fads: See AttachmentC                                          and/or 841(a)(1)


         V Continuedonthenlnchedsheet.
         O Delayednoticeof    days(giveexactendingdateifmorethan30days:                                         )isrequested
           tmder18U.S.C.j3103a,thebasisofwhich issetforth ontheattaèhedsheet.
                                                                           <

                                                                                     zl   licant'
                                                                                                s Jfgwnzrc                 --

                                                                                Brian Snedeker,SpecialAqent
                                                                                    Printednamef#;# title

Swom to beforem e axld signed in m y presence.

0-t-:    l
         /I,/lq                                                                        Judge'
                                                                                            s.Wgztzlzlrc
Cr
 'ty and stater      Abm
                       ' gdon,W ginia                                           pam cqa Msadesargent,usuz
                                                                                     Printednamet???: title
            Case 1:19-mj-00003-PMS Document 1 Filed 01/15/19 Page 1 of 8 Pageid#: 1
                     A TTA C H M EN T A




                    12499 Rich Valley Road,Bristol,VA




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                                ATTACHMENT B


1. M ethnmphetaminedistributibnparaphemaliaincluding(butnotlimitedto)
   SCa1eS,Clltting material,plasticbaggies,wrapping m aterial;devicesused to
   commlmicate wit,  h otherdnzgtraG ckers/co-conspiratorsincluding cellular
   telephonesand two-wayradios;electonid equipm entused forcounter-
   surveillancetoincludevideo surveillancesystemsandrelatedDVRS(digitalvideo
   recorders),scanners,andanti-buggingdevices;speciallybuilthiddencompnrtments
   orm pgnvork/docum lntation gvidencingthebuildingofltidden com partmentson
   vehicles(suchcompar% entsareroutinelyusedbynarcoticstraffickerstoconceal
   andtransportcontrolled substancesand theproceedsfrom the saleofconkolled
   subshnces).
2. Firearm s,includingbutnotlimited to handgtms,rifles,and shotgunsthatare
   comm only usedby individualstoprotectcontrolled substancesand related dnlg
   proceeds/assets.Firearm s,ohentim esstolenaarealso routinely bartered in exchange
   forconlolled substances.                           '

3. Books,records,ledgers,notes,and videospertainingto theillicitdistribution,
   purchasing,andtransporting ofm ethamphetnmine.

   M essages,letters,telephonenumbers,and addressesrelatingto customersasuppliers,
   and otherco-conspiratorsinvolved with theillicitdistdbutionapc chasing,and
   transporting ofm ethsmphetamine. These' m essages,letters,telephonenumbers,
   and addressesm ay bewritten on personalcalendars,personaladdressand/or
   telephone books,Rolodextypeindices,notebooks,loosepiecesofpam r,and found
   in m ail.

5. Photographsand videosdepicting methamphetamine,drug distribution
   m raphernaliaasubktntialasm ts,co-conspirators,and personswith
   m etham phetam ine,

6. Books,ledgers,receipts,bank statem ents,cashier'schecks,and otheritem s
   evidencing theacquisition,secreting,transferring and/orconcealmentofassetsorthe
   expenditureofnarcoticsproceeds.

   Item sorarticlesofpersonalprom rtytending to show ownership,dominiow or
   conkolofthepremises/property/vehicles.Suchitemsorarticlosinclude(butarenot
   limitedto)m rsonalidentifcationam rsonalcorrespondence,diaries,checkboolts,
   notes,photographs,keys,receipts,m ail,personaltelephoneand addressbooks,
   videosxandmotorvehiclerelateddocuments(titles/registrations).
8. Largeamountsofcr ency(exceeding$1000.00)orreabilytransportedassets
   whichareusedascashequivalents(cashier'schecks,gold,diamonds,precious
   jewels,llighvaluewatches,etc.).


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                          ATTACHM F:
                                   N TB (Continued)

9. Stolenproperty(e.g.fireanns,jewelry,powertools,electronics,motorvehicles).
   Stolenprogertyi'
                  sfoutinelybo eredfofdrugsandrecoveredby1aw entbrcement
   from locahonsunderthecontrolofpersonsinvolved with the
   trafficldng/distribution ofcontrolled substances.

10. ltem slisted in Paragraphs 1and 3 through 7 maybestored in digitalm edia.
   Therefore,distalmedia(includingbutnotlimitedtocomputers/computerhard
   drives,digitalvideorecorders(DVRs),lloppy(lisks,'cD's,DVD's,flash/jllmp
   drives,personaldigitalassistants(PDA's),cellulartelephones/smartphones,digi/l
   cameras,PODs,.PADs,tablets/tabletcomputersetc.)aretobeseizedandexaniined
   (bothon-siteandoff-sitebywhatevermeansavailabletothegovernment)forthe
   itemslisted in Pamgraphs1and 3 through 7.




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                                ATTACH MENT C

                                  AFFD AV IT of
                           SpecialAgentBrian Snedçker
                         DnlgEnforcementAdm inislation
                                Bristol,V irginia



1.1,SpecialAgentBrian Snedeker,being duly sworn hereby deposl and say:

2.Thepurposeofthisapplication and affidavitisto secttrea search warrantforthe
  prem isesknown as 12499 Rich ValleyRd.Bristol,VA.Thisaffiant,afterobtaining
                .                         J'
  and revicwing lnform ation,believestherelsevidence ofdistribution of
  m ethamphetnmineand/orconspiracyto distributem ethamphetam ineat12499
  RichValleyRd.aBristol,VA indolationof21USC 841(a)(1)and 846/841(a)(1).
3.Ism aSpecialAgentwiththeDrugEnforcementAdministration(DEA)andhave
  beensoemployedforapproximately(27)years.DtuingmyenploymentIhave
  received com prehensive classroom trainingfrom theDnzgEntbrèement
  Adminislationin syecializednarcoticinvestiyativemattersincludinybutnotlimited
  to dnzg interdiition,drtlg detection,money launderingteclmiquesandschemes,
  smuggling,and the investigation ofindividualsand organizationsinvolvingthe
  smuggling,cultivation,m anufacturing,and illicittrao cking ofcontrolled substances
  and controlled substanceprecursors. Ihavçparticipated in the investigationsand
  subsequentarrestsofhundredsofindividualsinvolvedwiththeknm cldngof
  meihamphetnmine(aScheduleH Controlled Substance).lhavealsoexecuted
  hundredsofsearch warrantsrelated to thetram cking and m anufacturingof
  m ethamphetam ine.

4.Thefactssetforthinthisaftidavitareknown to me asaresultofmy participation in
  theinvestigation ofEarlM ccoyand his% sociatesandinfoe ation provided
  to m eby other1aw entbrcem entoficersand a concem ed citizen. Any reliable
  contidentialsom cerefen'ed toin thisaffidavithasperformedm ultiple conlolled
  purchases(monitored,recorded,and surveilledbylaw eeorcement)of
  metimmphetxm ine. Any referelcetothegeldrr'ofany rd iablr rolttk ential'sourct,
  sourceofinformation(hereaqerreferredtoas<GSOI'') orconcemed citizen doesnot
  necessarily reflectthetrue genderofsaid confidentialsom ce/sol/concem ed citizen.

5,D uring2018,aconcem ed citizen advised 1aw enforcementthatEarlM ccoy and bis
  partner,M thonySmith,taketripseachmonthtoAtlanta(Georgia)topickup
  methamphetam ineand heroin.

6.OnOctober9,2018,AnthonySmithwasaaestedinBzstol,VA duringthecourseofa
  motorvehiclestopinwhich morethan(1)ounceofmethamphetaminçwasseized
  from Smith. Sm ith iscurrently freeon bond.

7.Law enibrcementobservedAnthonySmithatEarlM ccoy'sprimaryresidence(111
  2ndSt,Bristol,VA)dllringthelatterhalfofOctober2018.
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   During late2018,law enforcementutilized areliableconfidentialsource
   (orsollrces).toperform multiplecontrolledpurchases(monitored,surveilledaand
   recordedby1aw enforcement)ofmttlti-pam quantitiesofmethamphetaminefrom
   EarlM ccdyat1112ndst,Bristol,VA      .




   A reliableconfidentialsourceadvisedlaw enforcementthatsheobserved Earl
   M ccoyinpossessionofover(1)poundofmethnmphetamineonmuhipleoccasions
   duringalate2018throughearl#2019timem riod.
10.Onm uhiple occasionsduringlate2018,1aw enforcementobsBrved EarlM ccoy
   operatingam otorvehicleregistered to M ccoy'ssecondaryresidenceat12499Rich
   ValleyRd.,Bristol,VA. Law entbrcem entalsoobservedtheaforem entioned motor
   vehicleparked in frontof1112ndSt., Bristo1,VA on m ultiple occasionsduring late
   2018.

11.A recentreview bythisao antofVirginiaDepartmentofM otorVehiclesrecords
   revealed 12499RichValleyRoad,Bristol,VA asM ccoy'sresidence(primary)
    although thisaffiantbelievestheaddressisnow a secondary residence forM ccoy
    with 1112ndst.,Bristol,VA being hisprim ary residence.
12. On 01-09-2019,afederalsearch warrantwasexecuted at1112ndSt
                                                            ' .?Bns
                                                                  .tol,VA.
                                                                      .


   EarlM ccoyandM ccoy'sgirlfriend,LamenSmith(AnthonySmith'sdaughter),
   werethe onlypersonspresentwhenthe search warrantwasexecuted.Asa resultof
   theexecution ofthe search warrant,severaldigitalscalesand htmdredsofsmall,
   Ziploc-typeplasticbags(akaRstampbags''orçjewelrybags''- commonlyutilized
   forthere-packagingofcontrolledsubstancesforresale)wereobservedand
   approximately(1)ounceofmethamphetamineand(1)ounceofsuspectedheroin
   wereseizedalongwith $4,260inUnited StatesCurrency,(3)loadedhandguns,(1)
   unloadedM 1-47pistolvariant,andnllmerouscellulartelephones. Two(1)gallon
   Ziploc-typebagswerediscoverednexttoatoiletinabathroom oftLeresidenceand
   oneofthebagscontainedapproximately(1)ounceofmethamphetamine. Suspected
    methamphetmineresidue/crystalscoveredtheflooraroundtheloilet.Thisaffant
    believes'thatM ccoy flushed multiplepoundsofm ethamphetam inewhile1aw
    çnforcementwasgaining entry totheresidence.

  . On 0*1-10'
I3*          -2049,a state search wanantwasexecuted'at1112n*St.,B'
                                                                 ristol'
                                                                       ,VA . The
    objectiveofthesearchwarrantwastoidentifyandseizestolenproperty(law
    enforcementofficersobserved an tmllsually large am ountofflatscreen televisions
    andvarietyoftoolslayingaboutvariouspartsoftheresidenceon 01-09-2019).Asa
    resultoftheexecutionofthestatesearchwanunt,alliddenareaapproximately(8)
    feetabovethegrotmd and concealed by wallpaneling wasdiscovered insidethe
    home. From insidethe hidden area,1aw enforcem entrecoveredvariousitem s
    including(6)longguns(includingtwoshortbarreled/sawedoffshotguns)and(9)
    handgtms(someloaded,one* 111theserialnllmbersobliterated,andonewithsigns
    ofanattempted obliterationoftheserialnllmbers).
l4. Subpoenaed cellulartelephorfe subscdberinformatiun pertairfingtothem ostrecent
    (Summer2018throughDecember2018)cellulartelephonemlmbersutilizedbyEarl
    M ccoyrevealed 12499 Rich ValleyRoad,Bristol,VA asthe subscriberaddressfor
    said telephone mlmbers.
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15.On01-14-2019,aconcerned citizen (whoidentifiedhimselg contacted1aw
   enfercementand advised thatEarlM ccoy maintainsalargequantifypfstolen
   property/property received in exchangefordrugsatM ccoy'ssecondary
   residencelocated at12499 Rich Valley Rd.,Bristol,VA .Theconcem ed citizen,
   who hasadmitted associatingwithEarlM ccoy foryears,claim ed thatM ccoy often
   staysovernightathissecondaryresidenceand dropsoffstolenproperty/property he
   hasreceived in exchangeforcontrolled substancesKGallthetim e>'. Said property
   includesfirenrm sand m otprvehicles. The concem ed citizen statedthatheisvery
   fam iliarw1t11theresidenceandhasbeen attheresidence on nllmerousoccasions.
   TheconcemedçitizennotedthathelastobservedM ccoyat12499kichValleyRd.,
   Bristol,VA duringthelast(25)days(itshotlldbenotedthatM ccoyhasbeen
   incarceratedsinceJanuary 10,2019).
16. Thisaffiantisawarebased onllistraining,experience,and conversationswith other
    1aw enforcem entofficel'sthatindividualswho distributeand/orconspireto distribute
   m ethamphetaminetypicallym aintain methamphetam inedistribution paraphernalia
   (small,plastic,Ziploc-typebaggies,digitalscales,etc.),notes,records,messages,
   andtelephonemlmbers(pertainingtomethamphetnminetraffickngrelated
   con/cts/co-com pirators/customers),assets(cash,firearms,jewelry,powertools,
   motorvehicles,and eleckonicsthatarea11regularly received in exchangefor
   metlmmphetxmine),and otheritemsaslistedandexplainedonAttachmentB (ofthe
   ApplicationandAm davitforSearchW arranttowhichthisaffidavitisattached)
   insidetheirresidences,garages,outbuildings/bams,campers,vehiclçs(orthe
   vehiclestheyoperate),andinsideofvehiclesregisteredtootherpersonswhen
   thosevehiclesare parkedatthetrafficker's/conspirator'sresidence/propery ,
17.Baseduponthei-
                actssetforthabove,Ibelievethereisprobablecauseforthe
   issuanceofa search wanantfortheprem isesknown as12499 Rich ValleyRd.,
   Bristol,VA (locatedwithintheW esternDistrictofVirginia)asthereisprobable
   causeto believethatthere isevidenceofayiolationof 21USC 841(.
                                        .                        a)(1)and
   846/841(a)(1)atsaidpremises.




                                                 0 1-1r- Q o/q
 BrianSnedeker,SpecialAgent(DEA)                        D ate




Subsoribedandswom tobeforemeatbisthe /               dayof                      ?C
in Abingdon,Virginia.


                                                  PamelaM eade Sargen
                                                United StatesM agistTateJu e
                                                  W esternDistrictofVirgtnia
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Seen by:


      /s/Roy F.Evans                   01-15-2019
    Roy F.Evans,SAUSA                     D ate




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